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                EXHIBIT 1
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                                                 TRANSFER PRICING AUDIT ROADMAP


Introduction

                In recognition of the strategic importance of transfer pricing, LB&I has established a dedicated team of transfer pricing
specialists (Transfer Pricing Operations or TPO) headed by an executive and encompassing both the Advance Pricing and Mutual
Agreement Program (APMA) and the Transfer Pricing Practice (TPP). This team has developed this Transfer Pricing Audit Roadmap
(Roadmap) to provide the transfer pricing practitioner, whether employed in TPO or International Business Compliance (IBC), with
audit techniques and tools to assist with the planning, execution and resolution of transfer pricing examinations.

               The Roadmap is a practical, user-friendly toolkit that is organized around a basic audit time-line and that provides
advice and links to useful reference material. It is not intended as a template – every transfer pricing case is unique, and the team will
need to exercise its own judgment about how to best use these guidelines. The Roadmap is a “work in process” – users are strongly
encouraged to contact the Income Shifting Issue Practice Networks (IPN) with any corrections, proposed additions or deletions, or
other suggestions for improvement.

              The following paragraphs summarize some of the key themes that run through the Roadmap and that should be kept in
mind by the exam team in any transfer pricing case:

                As with any complex project, up-front planning is essential. LB&I seeks to maintain currency in its inventory. At the
same time, proper development of a transfer pricing position may take as much as 2-3 years or more. Accordingly, transfer pricing
specialists must be involved in assessing potential transfer pricing issues at the earliest possible stage – ideally, before the official
audit commencement date. Their early involvement will ensure that the audit plan and timeline are appropriate given the complexity
of the case and the resources available. Transfer pricing specialists can provide valuable guidance in staffing decisions, including
identification of necessary expertise. Transfer pricing specialists can help weed out issues that are not worth pursuing, thereby
preserving resources for more important work.

                Transfer pricing cases are usually won and lost on the facts. The key in transfer pricing cases is to put together a
compelling story of what drives the taxpayer’s financial success, based on a thorough analysis of functions, assets, and risks, and an
accurate understanding of the relevant financial information. Fact development is the “bread and butter” of our exam teams – it’s
what they are trained for and good at. An effective story explains the taxpayer’s value chain, competitive position in its industry, and
financial results, in a clear and compelling fashion. If indications are that the tax result claimed by the taxpayer is at odds with
common sense and economic reality – “too good to be true” – chances are it is a good candidate for further scrutiny. Early
identification and aggressive pursuit of cases that have this potential is important. Conversely, if indications are that the taxpayer’s
financial results are reasonable, and the taxpayer’s method fits its fact profile, it may not be worth pursuing the issue.



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                  The objective in a transfer pricing audit is to determine a reasonable result under the facts and circumstances of any
given case. Effective enforcement of the arm’s length standard requires the exercise of judgment. A “working hypothesis” developed
early, based on initial basic fact development is a necessary guide to further detailed examination. The exam team should keep an
open mind at all times during the examination and the working hypothesis should be adjusted (or discarded) depending on new facts
that come to light. This iterative process of developing the facts and evaluating the hypothesis should be documented as the
examination advances. Focusing and documenting the investigation in this way promotes efficiency, addresses the taxpayer’s
concerns about “fishing expeditions” (theories in search of facts) and offers a good foundation for organizing and formulating a
complete analysis at the end of the examination process. It also bolsters our position in the event IDR enforcement proves necessary.
It is critical that, in every case, the team address in full the taxpayer’s analysis – the taxpayer may well have the more compelling
position on the issue.

               Effective presentation can make or break a case. Even a strong position may not be sustained on review if it is not
presented clearly and persuasively. A Notice of Proposed Adjustment (NOPA) should have logical structure, and should weave the
facts and applicable legal and economic principles together in a story-line that resonates with the reader. All of the relevant facts –
good and bad – should be addressed. The conclusion should come across as “inevitable.” This sort of presentation lends credibility to
the proposed adjustment, and increases the odds of early resolution or sustention on review.

                In summary, the Roadmap provides the transfer pricing practitioner with a comprehensive toolkit to address the key
themes underlying a transfer pricing examination. As with every toolkit, not every tool, or audit step, will be necessary to get the job
done in a particular case. You will need to use your judgment to apply the recommendations contained in the Roadmap to your
specific case including the time and timeline needed to complete your examination. And, as previously said, this Roadmap is an
evolving tool. If you are aware of new or different audit tools or techniques, you are encouraged to share these contributions through
the Income Shifting IPN.


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                                             TRANSFER PRICING AUDIT ROADMAP

Quality Examination Process (QEP)
QEP Phases
Planning
                                     Execution
                                                                                         Resolution
Transfer Pricing Audit Stages & Timeline
                      Cycle Time in Months
Non-cycle time          1st to 2nd    3rd      4th   5th   6th 7th to 15th 16th   17th   18th   19th   20th to 23rd 24th

     Pre-Examination Analysis

                       Opening Conference, Transfer Pricing
                                  Orientation

                                       Preparation of Initial
                                       Risk Analysis, Exam
                                      Plan & Key Milestones
                                        Fact Finding and Additional IDRs, Functional
                                                           Analysis
                                                                      Mid Cycle Risk
                                                                       Assessment
                                                                          Issue Development
                                                                           and Preliminary
                                                                                Reports
                                                                                         Pre-NOPA
                                                                                           Issue
                                                                                        Presentation
                                                                                                Resolution
                                                                                                Discussions
                                                                                                       Final NOPA and
                                                                                                         Case Closing

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                                         TRANSFER PRICING AUDIT ROADMAP



Transfer Pricing Audit Roadmap Phases                                                   Timeline
                                                                                        Pre-exam analysis
Planning Phase (up to a 6 month process)                                                occurs before the
  A. Pre-examination Analysis                                                           cycle begins
          Preliminary assessment of potential
                                                                                        Opening Conference
          6662(e) Documentation Review                                                 starts the 24 month
          Planning Meetings                                                            audit cycle
  B. Opening Conference (starts the 24 month cycle)
                                                                                        Planning activities
  C. Taxpayer Orientations                                                              occur during
  D. Preparation of Initial Risk Analysis and Examination Plan                          months 1 to 6 of the
          Initial Risk Analysis                                                        audit cycle
          Examination Plan, Timelines and Key Milestones

                                                                                        Fact finding and
Execution Phase (up to a 14 month process)                                              issue development
 A. Fact Finding and Information Gathering                                              occurs during
          Additional IDRs                                                              months 3 to 17 of
                                                                                        the audit cycle
          Functional Analysis
          Mid Cycle Risk Assessment
 B. Issue Development
          Economic Analysis
          Preliminary Report and Findings

                                                                                        Issue Resolution
Resolution Phase (up to a 6 month process)                                              occurs during
 A. Issue Presentation                                                                  months 18 to 24 of
 B. Issue Resolution                                                                    the audit cycle

 C. Case Closing/RAR




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   Back to Roadmap Index      NOTE: The following steps are not necessarily presented in any particular order
Planning Phase                of completion. Some steps will take place consecutively and some concurrently
                              and timing of any given activity may vary based on specific case situations.
  Pre-examination
  Analysis                           Review tax return for controlled transaction. Utilize the International
                                      Information Returns (IIR) tool that was developed to display and analyze data
                                      from Forms 5471, 5472, 8858 and 8865. Additional forms to analyze include,
Preliminary assessment                but are not limited, to:
                                     Form 5471 - Information Return of U.S. Person with Respect to Certain
                                      Foreign Corporations
                                     Form 5472 - Information Return of a 25% Foreign-Owned U.S. Corporation
                                      or a Foreign Corporation Engaged in a U.S. Trade or Business
  Core members:                      Form 8833 - Treaty-Based Return Position Disclosure
    International Examiner
                                     Form 8858 - Information Return of U.S. Persons with Respect to Foreign
    (IE)
                                      Disregarded Entities
    IE Manager
    Computer Audit                   Form 8865 - Return of U.S. Persons with Respect to Certain Foreign
    Specialist (CAS)                  Partnerships
    Team Coordinator                 Form 926 - Return by a U.S. Transferor of Property to a Foreign Corporation
    (TC)                             Uncertain Tax Positions (UTP) Disclosures
    Economist                        Schedule M-3 analysis
    Transfer Pricing
    Practice Personnel     Contact your team’s CAS or visit the CAS website for tools to conduct analysis on e-
    (TPP)                  filed data from many of the forms identified above.

                              Helpful References:

                               IRM 4.61.3 - Development of IRC 482 Case
                               OJI Training Pre-examination Analysis
                               IRS.GOV LB&I Schedule UTP Guidance and Schedule UTP and UTP Guidance and
                              Procedures

                              Review prior cycles’ audit results, reports and Appeals Case Memoranda (ACM).


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      Use tax return information and available research tools to compute the key
      financial ratio analysis for multiple years, make industry comparisons and
      consider whether cross border income shifting is occurring:
           Tax Information Gateway (TIG) Report for company financial data, worldwide
             profitability analysis and historical information
           Financial Ratio Analysis
           Capital IQ (CIQ) analysis to compare results to available industry information

      Contact your team’s CAS or visit the CAS website for tools to conduct multi-year ratio
      and comparative analyses on e-filed data.

      Caution: Financial ratio analysis and CIQ must be used carefully. Financial ratios
      may be useful as a diagnostic tool to help focus the audit; however, they do not provide
      a definitive indication of the arm's length nature of a taxpayer's controlled transactions.
      Even if financial ratios indicate potential non-arm's length transfer pricing issues, the
      team nonetheless needs to complete rigorous development of the issue facts and
      circumstances.

      Research taxpayer background, history and core business operations.

      Because transfer pricing studies are generally based on book financial information, it is
      helpful to become familiar with qualitative and quantitative information found in
      publicly available documents. SEC Form 10-K is particularly useful. It contains
      audited financial information as well as a comprehensive overview of the company’s
      business and financial condition. Other detailed information particularly useful for a
      transfer pricing review includes:
           research and development activity and location
           descriptions of patents, trademarks and other IP
           geographic and organizational structure
           segmented operational and profitability levels

      Research tools such as CIQ and Compustat also have pre-formatted reports that can be


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                  TRANSFER PRICING AUDIT ROADMAP


      helpful to understanding a company’s overall business and profit drivers.

      NOTE: The information gathered and analysis done to this point will become part of
      the “Background” section of any transfer pricing NOPA and the related economist
      report. Begin to document and organize this information in the audit workpapers and
      continually update the file throughout the audit process.

      Helpful References:
      Securities and Exchange Commission Website
      Capital IQ (CIQ)
      Taxpayer’s website

      Analyze statute of limitations (SOL) on the primary return under audit and
      related returns (e.g., Form 1042).

      Coordinate with the Team Coordinator (TC) on statute controls (ensure Forms
      895 are completed).

      Caution: When a transfer pricing adjustment is made, a deemed distribution or other
      conforming adjustment(s) may occur and potentially be subject to withholding. Ensure
      that the Form 1042 statute remains open. Also see Treas. Reg. §1.482-1(g)(3) and
      Rev. Proc. 99-32 for a discussion of conforming adjustments.

      Prepare the IRC § 6662(e) mandatory Information Document Request (IDR) and
      issue with the initial examination contact letter.
           Required 30 day taxpayer response time starts with the date of initial
             examination contact letter
           This request for documentation includes a request for principal documents and
             an index for background documents
           Use this 30 day period to perform the company background/overview analysis
             and tax return(s) review
           The 30 day response time is defined by statute and is an exception to the new
             IDR and related enforcement processes as described in LB&I IDR Directives


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      Helpful References:
      Transfer Pricing Compliance Memorandum
      IRM Exhibit 4.46.3-5 Transfer Pricing Compliance Processes

      Prepare an IDR requesting a transfer pricing orientation meeting and issue the
      IDR with the initial examination contact letter and § 6662(e) IDR:
          Orientation should be provided early in the planning phase of the examination
            but after the financial statement and accounting records orientation is held
          Ideally, documentation provided by the taxpayer in response to the § 6662(e)
            IDR should be analyzed before the transfer pricing orientation is held.
            However, if the taxpayer engages in many intercompany transactions, holding
            the orientation early in the review may help focus the risk analysis and audit
            plan.

      Coordinate with the TC to issue an IDR with the initial examination letter
      requesting a financial statement orientation to be provided within 30 days from
      the opening conference.

      Coordinate with the TC and the CAS to issue an IDR to request accounting
      records, including the worldwide, geographic and segmented accounting data and
      financial statements necessary for transfer pricing review.

      Consider obtaining information or foreign based documentation from Treaty
      partners using “collateral requests,” “requests for information pursuant to
      treaties,” and the “Simultaneous Examination Program.”

      Develop and outline preliminary working hypothesis(es) and transfer pricing risk
      assessment with consideration of:
           Worldwide effective tax rate and whether the taxpayer’s overall tax position is
             such that income shifting would be beneficial from a financial accounting/cash
             flow standpoint
           Potential applicability of a tax treaty
           Source of income and tax credit availability

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             Potential impact of Subpart F
             Other potential impact such as other collateral adjustments

       Document the audit steps taken, facts discovered and the preliminary risk
       assessment in the audit file and begin to outline a “fact statement” that will be
       updated throughout the examination process.

       Note: Typically a member of the Transfer Pricing Practice (TPP) and/or
       Economist will participate in these preliminary assessments as well as other
       planning activities discussed below, though not in a lead capacity. The role and
       involvement of the TPP will continue to be evaluated as the issue assessment
       progresses with possible levels of engagement ranging from advisory to lead
       examiner.

       Evaluate the need for internal specialist assistance (economist, engineer, etc.) and
       make SRS referrals as appropriate.

       Helpful Reference:
       IRM 4.60.6 - International Referral Criteria & Procedures




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  Back to Roadmap Index    Review and analyze § 6662(e) documentation and note areas that require further
Planning Phase             development, confirmation or inquiry.
                               The IE, economist and TPP should coordinate on their initial assessment and
  Pre-examination                 hypothesis
  Analysis                     The economist, in collaboration with the IE and TPP, should begin to evaluate
                                  the taxpayer’s best method selection and the potential applicability of various
                                  methods
Documentation Review
                               Consider whether documentation meets the requirements of the § 6662
                                  Regulations.
 Core members:
     Team Coordinator      Helpful References:
     IE and IE TM          IRM 4.60.8.3 - IRC Section 6038A
     CAS                   Audit Tool to Determine Compliance with IRC § 6662(e)
     Economist
     TPP team member




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  Back to Roadmap Index    NOTE: The following steps are not necessarily presented in any particular order
Planning Phase             of completion. Some steps will take place consecutively and some concurrently
                           and the timing of any given activity may vary based on specific case situations.
  Pre-examination
  Analysis                 Conduct the preliminary planning meeting(s) with the taxpayer. Besides general
                           agenda items for all aspects of the examination including timeframes and key
                           milestones, topics specific to the transfer pricing examination would include:
                               Identify the key taxpayer personnel responsible for assisting the exam team in
Planning Meetings                 the transfer pricing review
                               Request accounting data and records including segregated P&L's for specific
                                  product(s) / product line(s)
                               Discuss the expectations that a comprehensive transfer pricing orientation
                                  should cover business operations, key functions, worldwide structure, title
                                  flow, product flow, service flows, transfer pricing policies, and documentation
 Core members:                    and be held soon after the financial statement orientation
     Team Coordinator          Discuss the potential need for interviews of operations personnel
     IE and IE TM              Discuss the IDR process (formulation of questions, taxpayer input, response
     CAS                          times, and dealing with delays)
     Economist                 If applicable, discuss the § 6038A rules and procedures governing foreign-
     TPP team member              based documentation

                           Note: Various planning meetings and informal discussions may be held depending on
                           the complexity and size of the return, the planned scope of the exam and the resource
                           commitments required.

                           Upon a determination that there may be an issue with respect to a transaction
                           that involves a treaty partner, the exam team/TPP should notify relevant APMA
                           personnel of treaty partner implications.

                           Helpful References:
                           IRM 4.46.3.2.2 - Conduct Formal Planning Meeting
                           IRM Exhibit 4.46.3-1 Agenda for Planning Meeting


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                                        TRANSFER PRICING AUDIT ROADMAP


 Back to Roadmap Index     Plan for and conduct a formal opening conference with the taxpayer. Agenda
Planning Phase             topics specific to transfer pricing examination should include:
                                The QEP and the three key phases of the process: Planning, Execution and
  Opening                          Resolution QEP Publication 4837
  Conference (starts            Transfer pricing compliance process IRM Exhibit 4.46.3-5 Transfer Pricing
  the 24-month audit               Compliance Processes
                                Preliminary scope of the transfer pricing examination and general timelines
  cycle)                        Review of this Roadmap as applied to the case
                                IDR and related enforcement processes as described in LB&I IDR Directives
                                Discussion of NOPA and resolution processes: 30 day standard
                                Any potential claims, including setoff issues anticipated under IRC § 1.482-
                                   1(g)(4) and Rev Proc 2005-46
 Core members:                  Expectation for financial statement orientation meetings to be held within 30
    IE and IE TM                   days of opening conference
    Economist                          o Identify employees responsible for accounting records
    Engineer                           o Include segmented financial statements and records
    CAS                         Transfer pricing orientation to be held after financial statement orientation
    Financial Products                 o Request employees involved in planning and structuring of transactions
    Field counsel, TPP                      be available
    Domestic Team                      o Request personnel responsible for transfer pricing study be available
                                       o Emphasize expectations that the transfer pricing orientation should be a
                                            comprehensive presentation not an overview of the § 6662(e)
                                            documentation
                                Quality of documentation
                                Potential need for interviews and site visits, if known
                                Anticipated additional information needs, order and priority
                                Notification to the taxpayer regarding statute of limitation protection on foreign
                                   affiliates’ returns IRM 4.60.2 - International Procedures – Mutual Agreement
                                   Procedures and Report Guidelines

                           Helpful References:
                           IRM 4.46.3.2.3 - Conduct Formal Opening Meeting (scroll down)
                           IRM Exhibit 4.46.3-2 Agenda for Opening Meeting


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   Back to Roadmap Index         Hold a financial statement / books and records orientation including but not
Planning Phase                   limited to:
                                     A walk-through of the legal entity organizational charts and functional
   Taxpayer                             organizational charts
   Orientations                      Reconciliation from geographic trial balance to 10-K’s consolidated financial
                                        statement
Financial Statement                  Segmented financial statements and roll ups to the consolidated financial
                                        statement
Orientation and Transfer
                                     Mapping from tax return to trial balance to general ledgers
Pricing Orientation                  Working paper for book/tax differences
                                     Year-end and month-end adjusting entries
                                     True-ups
F/S orientation to be held           Chart of accounts
within 30 days of opening            List of cost centers and profit centers
conference
                                     Taxpayer’s accounting practice and policies
Target transfer pricing
                                 Hold transfer pricing orientation with the taxpayer to include but not limited to:
orientation to be held soon
                                     Taxpayer’s background and the history of intercompany transactions
after F/S orientation is held
                                     Discuss all intercompany transactions in the year(s) under exam
                                            o Gain understanding of the taxpayer’s rationale for entering into the
                                                transactions
 Core Members:                              o Gain understanding of the taxpayer’s value chain(s) associated with the
       IE and IE TM                             intangible, services and/or tangible goods
       Industry Specialists                 o Gain understanding whether the intercompany transaction is associated
       Economist                                with the transfer of an income stream, or contribution to the value, of
       Engineer                                 any intangible
       CAS                           Discuss the functions performed, assets employed, and risks assumed by each
       Financial Products               controlled party of the respective intercompany transaction
       Field counsel, TPP            Understand how the preparer of the transfer pricing study gained knowledge of
       Domestic Team                    each controlled party’s functions performed, assets employed and risks
                                        assumed and request supporting documents (interview notes, minutes)
                                     Discuss whether to request background documentation
                                     Identify persons responsible for structuring the transaction from the tax

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              planning perspective
             Discuss the need to request additional documentation including contracts and
              agreements not previously requested
             Gain an understanding of the transfer pricing methods selected by the taxpayer
              for significant transactions.
             Discuss the process for requesting follow-up meetings and clarifications

       Hold a reassessment meeting with IE, economist, TPP, field counsel and their
       respective managers:
           Determine which transaction(s) need(s) further development, which
              transactions may be closed or which transaction(s) need(s) to be eliminated
              from further analysis
           Determine the level and scope of TPP involvement going forward
           Discuss any new information and reassess/adjust working hypothesis(es)
           Assess level and scope of counsel involvement and begin to consider any
              discrete legal issues
           Assess resource / outside expert needs. NOTE: In any transfer pricing case
              that may require any outside expert consideration ensure the TPP is informed
              or involved early in the examination process. Documented concurrence of a
              TPP Territory Manager must be provided with any request for outside expert
              assistance on transfer pricing issues.
                IRM 4.46.3.8.11 - Selection and use of outside experts
                Outside Expert Committee Documents
           Continue to document, organize and outline transactions determined to warrant
              further development and analysis based on information gathered to date
           Begin to formulate the best method analysis to include assessment of the
              taxpayer’s selected method
                  o If there is doubt as to whether the taxpayer’s selected method is the best
                      method, assess the reliability and comparability of the taxpayer’s
                      assumptions and data
                  o Determine additional accounting data and records needed for this
                      assessment or for application of any methods being considered as a best
                      method


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       Document and update the audit steps taken, facts discovered and an updated risk
       reassessment to the audit file. Continue to update, correct and refine your fact
       statement.

       Work with the TPP and field counsel to request outside experts, as necessary.




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 Back to Roadmap Index       Request all information not previously obtained during the Planning Phase, plus:
Planning Phase                   Additional items that are identified from reading § 6662(e) documentation,
                                   including items identified from the index of background documentation
   Preparation of                Follow-ups and clarification to the financial statement and the transfer pricing
   Initial Risk                    orientation
   Analysis and                  Other follow-up data and information necessary to test the working hypothesis and
                                   the best method assessment
   Audit Plan
                             Helpful References
Prepare Initial Risk         IRM Exhibit 4.46.3-5 Transfer Pricing Compliance Processes
Analysis                     Check List for Sec. 482 Transfer Pricing Examination

                             Prepare an initial risk analysis for the transfer pricing examination based on the
Core Members:                reassessment. Use Form 13744.
      IE and IE TM               Submit risk analysis and audit plan for approval by International Team Manager,
      Industry Specialists          Territory Manager (TM), and Economist Manager and coordinate inclusion with
      Economist                     overall risk analysis with the TC and TM
      Engineer                   Provide the risk analysis to the taxpayer along with the audit plan and timeline
      CAS                        Risk assessment is an iterative process that will take throughout the audit and
      Financial Products            updated and documented at different stages
      Field counsel, TPP
                             Helpful Reference:
                             IRM 4.46.3.2.2.2 - Risk Analysis and Risk Management




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 Back to Roadmap Index        Establish an estimated audit timeline and key milestone dates for completion of the
Planning Phase                transfer pricing examination
                                  Consider this Transfer Pricing Audit Roadmap when establishing the audit plan
   Preparation of                 To be done within the six months from the opening conference
   Initial Risk                   Include date for mid cycle risk analysis; usually twelve months after opening
   Analysis and                      conference
                                  To be provided to the taxpayer with the audit plan and the initial risk analysis
   Audit Plan
                              NOTE: Continuous communication with the taxpayer and team throughout the planning
                              phase is critical.
Examination Plan,
                              A general timeline that would apply to a 24 month examination cycle follows:
Timelines and Key                 Last IDR to the taxpayer: 17th month
Milestones                        Discuss the government’s findings with the taxpayer prior to the issuance of the
                                    last NOPA, ascertain the taxpayer’s position and discuss resolution with the
                                    taxpayer of the last issue: 18th and 19th month
Core Members:                     Issue last NOPA to the taxpayer: 20th month
       IE and IE TM               Taxpayer response to last NOPA due by: 21st month
       Industry Specialists       Issue RAR/30-Day Package to the taxpayer: 22nd month
       Economist                  Taxpayer’s 30-Day Protest due: 23rd month
       Engineer                   Rebuttal to the taxpayer’s protest: 24th month
       CAS                        Closing case: 24th month
       Financial Products
       Field counsel, TPP     These time frames assume no extraordinary or unusual events or demands.
                              The 24 month examination model is used to demonstrate how milestones and audit phases
                              are sequenced
Target 6th month of the
audit cycle to complete
Planning Phase                Complete the audit plan and provide to the taxpayer along with the risk analysis and
                              timeline after securing managerial approvals. Form 4764

                              Helpful Reference:
                              IRM 4.46.3 - LB&I Guide for Quality Examinations -- Planning the Examination


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 Back to Roadmap Index      Issue additional IDRs for factual development, including requests for interviews,
Execution Phase             plant tours and site visits
                                 Follow the requirements for issuing IDRs in accordance with the LB&I Directive
  Fact Finding                     on IDRs
                                 When IDRs are delinquent, use the IDR Enforcement Process Directive to secure
                                   the information
Additional IDRs                  Follow the graduated steps and related timeframes of (1) a Delinquency Notice, (2)
                                   a Pre-Summons Letter and (3) a Summons described in the Directive.
                                 Support and participate in the discussions and taxpayer engagements associated
  Core members:                    with these delinquency processes
     IE and IE TM                Coordinate with counsel when drafting IDRs with potential to summons
     Industry Specialists
     Economist              Helpful References:
     Engineer               LB&I Directive on IDRs
     CAS                    LB&I Directive IDR Enforcement Process
     Field counsel          IRM 25.5 - Summons
     TPP                    IRM 4.46.4 - LB&I Guide for Quality Examinations -- Inspection & Fact Finding
     TC
                            NOTE: Continuous communication with the taxpayer and team throughout the
                            execution phase is critical.




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 Back to Roadmap Index      Perform a comparability and functional analysis, including a review and analysis of
Execution Phase             accounting data, interviews, plant tours and site visitations:
                                Work with the taxpayer to identify key personnel for interviews/site tours
  Fact Finding                  Work with the taxpayer to identify plan and site for tour(s)
                                Work with core members to prepare for interviews and tours
                                Consider and evaluate need for foreign travel
Functional Analysis
                            NOTE: A functional analysis (IRM 4.61.3.5.1) identifies the economically significant
                            activities performed in connection with the transaction. An economically significant
                            activity is one that, at arm’s length, materially affects the following: a.) the price charged
                            in a transaction and b.) the profits earned from a transaction.
  Core members:
     IE and IE TM           In planning and performing your functional analysis you should consider information
     Industry Specialists   needed for any Subpart F functional analysis as some of the fact finding for the two can
     Economist              overlap.
     Engineer
     CAS                    Key IRM References:
     Field counsel          IRM Exhibits 4.61.3-3 & -4 - Audit Tool - Transfer Pricing Functional Analysis
     TPP                    Questionnaire
     TC                     IRM Exhibit 4.61.3-2 - Audit Tool for Developing Transfer Pricing Issues
     IPN(as appropriate)    IRM 4.61.3 - Development of IRC 482 Issues
                            IRM Exhibit 4.61.3-1 - On-site Visitations

                            NOTE: A functional analysis is a critical aspect of any transfer pricing examination and is
                            best conducted as a team, including IE, TC, TPP, Economist, Engineer, Field Counsel,
                            with roles understood, robust internal communication, and on going discussions with the
                            taxpayer to further understand its business operations.

                            Meet with the taxpayer to confirm material facts that the IRS developed during the
                            examination:
                                Provide the draft fact statement and request written confirmation from the taxpayer
                                  (or explanation of differences)


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          Consider a full, open discussion / presentation with the taxpayer – preferably
           including the relevant operations personnel – regarding the team’s working
           hypothesis (es) and initial conclusions
          Issue additional IDRs as necessary

    Reassess the risk analysis and refine the working hypothesis(es) based on an analysis
    of new information and the taxpayer’s input:
         Determine which transaction(s) need(s) further analysis
         Determine which transaction(s) need(s) to be eliminated from the work plan
         Determine additional IDRs as necessary
         Reevaluate the need for additional internal and outside experts
         Identify any discrete legal issues
         Continue to document, organize and outline transactions determined to warrant
           further development and analysis based on information gathered to date

    Document and update the audit steps taken, facts discovered and risk reassessment
    to the audit file.

    Update, correct and refine your fact statement and begin to develop a general outline
    of the issue. This will help organize your thinking and analysis and will be useful when
    drafting the NOPA begins.

    Coordinate any discrete legal issues with Field Counsel, Associate Chief Counsel
    International, the TPP and the IPN.

    Ensure communication and collaboration with Team Managers and Territory Managers
    throughout reassessment process.

    NOTE: Continuous communication with the taxpayer and team throughout the
    execution phase is critical.




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  Back to Roadmap Index      Prepare a mid-cycle risk analysis to reflect updated risk reassessment. Update
Execution Phase              timelines and milestones as necessary. Secure managerial approvals and provide / discuss
                             with the taxpayer.
  Fact Finding
                             Helpful Reference:
                             IRM 4.46.3.2.2.2 - Risk Analysis and Risk Management
Mid Cycle Risk
                             NOTE: Continuous communication with the taxpayer and team throughout the
Assessment
                             execution phase is critical.
  Target 12th month of
  audit cycle to complete
  mid –cycle risk analysis




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 Back to Roadmap Index       Perform an economic analysis consistent with the working hypothesis (economist in
Execution Phase              consultation with IE, TPP, engineer and field counsel).
                                 Conduct a robust analysis of why the taxpayer’s method is or is not the best
 Issue Development                  method; determine best method, as applicable
                                 Consider its usability for resolution purposes
                                 Coordinate with APMA on any country-specific considerations
Economic Analysis
                             Analyze the facts, including accounting data, to determine the applicable legal
                             analysis (IE, in consultation with Economist, TPP other exam team members, Field
  Core Members:
                             Counsel and ACCI, as necessary).
      IE and IE TM
      Economist and TM
                             Issue additional IDRs for information as necessary.
      Engineer
      Field counsel
                             Complete a draft of the background and facts write up to be used in the NOPA and
      ACCI as necessary
                             in the economist report assisted by audit work files and workpapers previously
      TPP
                             developed (IE and economist to coordinate with field counsel and TPP):
      APMA
                                  Share with the taxpayer; discuss inaccuracies and points of disagreement.
 Target 17th month of the         Revise draft, as necessary. Aim for an agreed set of facts
 audit cycle to issue last
 IDR                         NOTE: Continuous communication with the taxpayer and team throughout the
                             execution phase is critical.




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 Back to Roadmap Index         Draft a preliminary economist report to include a detailed critique of the taxpayer’s
Execution Phase                method, addressing individual comparables, assumptions, etc. (Economist in
                               consultation with IE, engineer, TPP and Field Counsel). Circulate and revise as
 Issue Development             necessary.

Preliminary Report             Using the general outline and fact statement already developed; prepare a draft NOPA to
and Findings                   include the draft economist report. Provide the draft NOPA or a preliminary analysis of
                               the issue, key factual findings and conclusions to the taxpayer (with assistance from the
                               field counsel, economist and TPP). Revise the draft NOPA and draft economist report
 Core Members:                 based on taxpayer’s input, if any. This can be an iterative process.
     IE and IE TM
     Economist and TM          Helpful References:
     Engineer                  IRM 4.46.6.1 - Workpapers and Reports Resources
     Field counsel             Document 12034: Economist Report Writing Guide for Transfer Pricing
     ACCI as necessary         NOPA Preparation ppt Preparation of Notices of Proposed Adjustment
     TPP                       Effective and Persuasive Writing Sites
     APMA
                               Consider applicability of IRC § 6662(e) penalty.
                               IRM 20.1.5.9 - IRC 6662(e) Substantial Valuation Misstatement
  Target 18th month of         IRM Exhibit 20.1.5-4 - IRC 6662 penalty flowchart
  audit cycle to issue draft
  NOPAs                        Prepare Mutual Agreement Procedure (MAP) report, if applicable. Coordinate and
                               discuss with APMA. IRM 40.60.2 - Mutual Agreement Procedures & Report Guidelines
                               and Letter 1853(P) and Schedule

                               Inquire about any IRC § 482 setoffs when the potential transfer pricing adjustment is
                               formulated. Request additional information including economic analysis supporting the
                               set off as appropriate. Rev Proc. 2005-46

                               Note: Continuous communication with the taxpayer and team throughout the execution
                               phase is critical.




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 Back to Roadmap Index   Meet with the taxpayer to discuss the government’s findings on all issues prior to
Resolution Phase         finalizing the NOPAs. Discussions are to focus on:
                              Understanding the taxpayer’s position
 Issue Presentation           Determining whether the taxpayer agrees with the facts
                              Determining whether the taxpayer would agree to any issues
  Core members:
     IE and IE TM        Assess strength of positions, risks associated with taking the issue forward, and the
     Economist           best approach for issue presentation (utilizing full consultation with all members of
     Engineer            the core team, TPP and Counsel).
     Field counsel,
     coordinating with
     ACCI as necessary   NOTE: Continuous communication with the taxpayer and team throughout the
     TPP                 resolution phase is critical.
     Domestic Team




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 Back to Roadmap Index        Conduct resolution meeting(s) with the taxpayer:
Resolution Phase                  Work with the taxpayer on resolution
                                  Understand nature of disagreements (facts or interpretations of law)
  Issue Resolution                Consider the taxpayer’s input for resolution purposes

  Core members:               Consider pre-Appeals resolution opportunities (e.g., Fast Track) on issues that
        IE and IE TM          cannot reach resolution at the examination level. IRS - Issue Resolution Techniques
        Economist             (scroll down)
        Engineer
        Field counsel,        Issue the final NOPA when the issue is fully developed and resolution efforts
        coordinating with     concluded:
        ACCI as necessary          Include the required mandatory reviews of the NOPA
        TPP
        Domestic Team         If the issue is agreed:
                                   Consider Rev. Proc. 99-32 ramifications/ elections
 Target 20th month of audit        Discuss the Rev. Proc. 99-32 options with the taxpayer
 cycle to issue final NOPAs        Secure a closing agreement if Rev. Proc. 99-32 relief is properly requested and
                                      granted (Rev Proc. 99-32 and IRM4.60.3.3 - Tax Treaty Related Matters )

                              Caution: Make certain any agreement reached is clear as to the transactions and years to
                              which the agreement applies. Clarify with the taxpayer any implication of the resolution
                              on subsequent years. This will avoid inappropriate reliance on current year outcomes to
                              future examinations and positions.

                              NOTE: Continuous communication with the taxpayer and team throughout the
                              resolution phase is critical.




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 Back to Roadmap Index       If the issue is unagreed, prepare the RAR/30-Day Package and case closing
Resolution Phase             workpapers:
                                  Address and rebut the taxpayer’s positions raised in the taxpayer NOPA response
 Case Closing/RAR                 Issue the RAR/30-Day Letter
                                  Complete rebuttal to the taxpayer’s 30-Day Protest by 23rd month of the audit
 Target 24th month of the            cycle
 audit cycle close case to        Include the required mandatory reviews of the NOPA and RAR including rebuttal
 Appeals or agreed.
                             Helpful References:
                             HELPFUL TIPS FOR WRITING AN EFFECTIVE UNAGREED REPORT
 Post Closing Activities
                             NOTE: If the Protest contains new factual information, raises new factual disputes or
                             presents new economic or legal theories, consider re-engaging examination processes.
                             Re-evaluate the timeline and reset the milestone dates as appropriate.

                             Hold the Appeals Pre-conference Meeting
                                 Prepare the presentation for Appeals
                                 Coordinate with the same team members participating in the examination.
                                 Coordinate with the TPP

                             Attend the Post-Appeals Meeting
                                 Understand Appeals’ rationale for the outcome
                                 Review and analyze the ACM
                                 Consider the impact to the subsequent year(s) risk assessment
                                 Provide feedback to the TPP as appropriate

                             Helpful Reference:
                             IRM 4.46.7.2.7 - Appeals Conference




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